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                       IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF PUERTO RICO

 IN THE MATTER OF:                                      CASE NO. 17-01510-MCF

 MENDEZ RIVERA, WALLY ENRIQUE,                         Chapter 7

 Debtor(s)



    TRUSTEE’S POSITION AS TO DEBTOR’S MOTION TO RECONSIDER ORDER

                           DENYING WAIVER OF FILING FEES

 TO THE HONORABLE COURT

    COMES NOW, NOREEN WISCOVITCH-RENTAS as Chapter 7 Trustee, and very

 respectfully STATES and PRAYS, before this Honorable Court:

       1. On March 3, 2017, the Debtor filed a voluntary Chapter 7 Petition under the

             Bankruptcy Code. The undersigned is the duly appointed and qualified Chapter

             7 Trustee.

       2. Also on March 3, 2017, the Debtor filed a Motion for the Waiver of Filing Fees.

             See Dkt. No. 2.

       3. On March 16, 2017, the Court denied the application to have the filing fee

             waived. Instead the Court authorized the payment by installments. See Dkt.

             No. 7.

       4. On March 23, 2017, the Debtor filed a Motion to Reconsider the Order. See

             Dkt. No. 9.

       5. On April 11, 2017, the Trustee held the 341 Meeting of Creditors and has since

             filed a report of no distribution and concluded the Meeting. See Dkt Nos. 11

             and 12.
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          6. The Trustee would like to bring to the Court’s attention Debtor’s Counsel Form

              2030 filed with the Petition in Dkt. No. 1 Page 56 of 58. There in the Attorney

              discloses that her fees for this case are $1,600.00. Of these fees, and at the

              time of filing, she had received $1,035.00. The form indicates that there is a

              balance due of $565.00.

          7. An attorney for the Debtor should not file a Chapter 7 Bankruptcy Petition, in

              which she is both the attorney for the Debtor and a Creditor to the Debtor. As

              being both, in bankruptcy, raise a conflict of interest for the attorney.

          8. It would be unequitable to allow an attorney to receive fees from the Debtor in

              an amount beyond the cost of the filing fees in this case. Allowing so, would

              leave the Court, and the trustee, without minimal compensation for the

              administration of this case.1           In fact, the attorney is receiving approximately 3

              times the filing fees value as her fees.

          WHEREFORE, for the reasons above stated, it is respectfully requested this Court

 take notice of Trustee’s position regarding the Debtor’s Motion to Reconsider.

          CERTIFICATE OF SERVICE: I hereby certify that on this same date I

 electronically filed the above document with the Clerk of the Court using the CM/ECF

 System which sends a notification of such filing to all parties in this case registered for

 receipt of notice by electronic mail. I further certify that the foregoing document has been

 served to the US Trustee at ustregion21.hr.ecf@usdoj.gov and Debtor’s attorney,

 Lyssette A. Morales Vidal, Esq., Urb. Villa Blanca, 76 Aquamarina, Caguas, PR 00725-




 1
  The filing fees includes the $60.00 a Chapter 7 Trustee receives for the administration of a no asset case. This
 amount has remained unchanged for the past 20 years.
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 1908 and by depositing true and exact, copies thereof in the US regular mail, to Debtor,

 Wally E. Mendez Rivera, RR 04 Box 7667, Cidra, PR 00739-9112.


 RESPECTFULLY SUBMITTED.


 In San Juan, Puerto Rico this 23rd day of February 2017.


                                         /s/ Noreen Wiscovitch Rentas
                                         NOREEN WISCOVITCH RENTAS
                                         CHAPTER 7 TRUSTEE
                                         PMB 136
                                         400 Kalaf Street
                                         San Juan, Puerto Rico 00918
                                         Tel. (787) 946-0132
                                         noreen@nwr-law.com
